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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF INDIANA
FORT WAYNE DIVISION

IN RE:

AUBURN FOUNDRY, INC., CASE NO.: 04-10427

Debtor,

Newer” See” Neer” Nome” Nene Sener”

NOTICE OF ASSIGNMENT OF CLAIM

Creditor, Tomkins Industries, Inc., hereby notifies the Court that it has received an
Assignment of the unsecured claim of Goeglein's, Inc. and request that Tomkins Industries, Inc.
be substituted for Goeglein's, Inc. pursuant to Rule 3001(e)(2). Evidence of the Assignment of

Goeglein's, Inc.'s claim to Tomkins Industries, Inc. is attached hereto as Exhibit A.

Respectfully submitted,

lV

MatthewSr an, Esq. (20926-02)
BARNES & THORNBURG

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Telephone: (260) 423-9440

Fax: (260) 424-8316

ATTORNEYS FOR CREDITOR,
TOMKINS INDUSTRIES, INC.
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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on this 15th of April 2005, a copy of the above and
foregoing document has been served by electronic filing and/or by depositing a copy of the same

in the United States mail, first class postage prepaid, and properly addressed to the following

counsel of record:

John R. Burns, Esq.
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Fort Wayne, IN 46802

DASI Industrie, Inc.
Randall A. Miller’

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Oswego, IL 60543

Miller and Company LLC
Robert Overman

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Rosemont, IL 60018

Auburn City Utilities
P.O. Box 506
Auburn, IN 46706

Dauber Company, Inc.
577 North 18th Road
Tonica, IL 61370

Fairmount Minerals
P.O. Box 400
Bridgeman, MI 49106

Miller and Company
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Rosemont, IL 60018

Omnisource Corp.-Tusco
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Toledo, OH 43607

XRI Testing — Troy
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1961 Thunderbird
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FWDSOI MWH 194430v1

Ellen L. Triebold, Esq.

United States Trustee

One Michiana Square, Suite 555
100 East Wayne Street

South Bend, IN 46601

Fire Protection, Inc.
Curt & Tim Howard
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Auburn, IN 46706

A.F. Europe, Inc.
635 W. Eleventh Street
Auburn, IN 46706

Bank of America
231 S. LaSalle Street, 16th Floor
Chicago, IL 60697

DeKalb County, Indiana
DeKalb County Assessor
100 South Main Street
Auburn, IN 46706

GMAC Business Credit, LLC
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Southfield, MI 48034

Motion Industries, Inc.
3333 East Washington Blvd.
Fort Wayne, IN 46862-2149

RI Lampus Co.
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Springdale, PA 15144

Citizens Gas & Coke Utility
2950 Prospect Street
Indianapolis, IN 46203

Fairmount Minerals
Michelle Pezanoski
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Wedron, IL 60557

Ashland Chemical Co.
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Columbus, Ohio 43216

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Citizens Gas & Coke Utilities
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Indianapolis, IN 46202

Inductotherm Corp.
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Rancocas, NJ 08073

MP Steel Indiana, LLC
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Kendallville, IN 46755

Unimin Corporation
809 Myers Road
Archbold, OH 43502

Matthew M. Hohman
